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                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                   NO. 4:01CR00212-012 SWW

DONNELL JACKSON



                                      ORDER

       The above entitled cause came on for hearing on February 21, 2012 on

government’s petition to revoke the supervised release [doc #1139] previously

granted this defendant in the United States District Court for the Eastern

District of Arkansas.   Based upon the admissions of defendant and the testimony

of witnesses, the Court found that defendant has violated the conditions of his

supervised release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked.

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of

NINE (9) MONTHS in the custody of the Bureau of Prisons. The Court recommends

that defendant participate in non-residential substance abuse treatment while

incarcerated.

       There will be NO supervised release to follow.

       The defendant is to report to the designated facility MONDAY, MARCH 19,

2012 by NOON. The defendant shall remain on present conditions of supervised

release pending report date.

       IT IS SO ORDERED this 21st day of February 2012.



                                              /s/Susan Webber Wright

                                              United States District Judge
